       Case 1:23-cr-00430-KPF          Document 106 Filed 11/15/24 Page 1 of 2
                                                 U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    26 Federal Plaza
                                                    38th Floor
                                                    New York, New York 10278



                                                     November 15, 2024


BY ECF & EMAIL

The Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


       Re:     United States v. Roman Storm
               S1 23 Cr. 430 (KPF)


Dear Judge Failla:

       The Government writes respectfully to notify the Court of the filing of a superseding
indictment against the defendant, Roman Storm, which was returned today by the grand jury.

          This superseding indictment adds no new charges, and differs from the prior indictment
against Storm in three principal respects.1 First, the superseding indictment adds to the charging
language in Count One the allegation that the financial transactions at issue involved the movement
of funds by wire and other means. The Government sought this change in an abundance of caution
to respond to concerns raised by the Court at the September 26, 2024 conference in this matter.
See Tr. of September 26, 2024 Conference at 26 (noting that “the statute contains additional
elements that I don’t believe are clearly alleged, such as the transaction might involve the
movement of funds by wire …. . So if the government is really going that route, they might want
to clean up confusion in a superseding charging instrument, if that’s the track they’re pursuing at
trial.”).

        Second, the superseding indictment changes the date range for the conspiracy charged in
Count Two. The original indictment alleged that the conspiracy to operate an unlicensed money
transmitting business ran from in or about March 2022 up to and including on or about August 8,
2022. The superseding indictment alleges that this conspiracy ran from in or about February 2022
up to and including on or about August 8, 2022. The superseding indictment also alleges a different

1
  The superseding indictment also removes the detailed factual allegations in the original
indictment and removes Roman Semenov as a defendant, in anticipation of the use of this
indictment at the forthcoming trial of Storm.
       Case 1:23-cr-00430-KPF         Document 106        Filed 11/15/24     Page 2 of 2

                                                                                          Page 2


overt act than the overt act alleged in the original indictment. These changes conform to the
evidence the Government has produced in discovery regarding the money transmitting business.

        Finally, the superseding indictment lists certain specific properties the Government will
seek to forfeit, to provide notice to the defendant.

       These modest changes do not affect the factual issues to be presented at trial. There is no
additional discovery associated with these changes, and the Government does not anticipate any
reason to delay trial in this case, which is currently scheduled to begin on April 14, 2025.

        The Government will confer with defense counsel regarding scheduling for an arraignment
on the superseding indictment.




                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney


                                      By:    ______________________________
                                             Benjamin A. Gianforti
                                             Thane Rehn
                                             Ben Arad
                                             Assistant United States Attorneys
                                             (212) 637-2490
                                             (212) 637-2354
                                             (914) 993-1907

                                             Kevin Mosley
                                             Special Assistant United States Attorney


cc: Brian Klein, Esq., Keri Axel, Esq., & David Patton, Esq. (by ECF & email)
